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UN|TED STATES D|STR|CT COURT
WESTERN D|STR|CT OF TENNESSEE
MEMPH|S D|VlS|ON

UN|TED STATES OF AIV|ER|CA
.v- 2:03CR20369-03-N||

KEITH NATHAN|EL SM|TH
Bruce Griffey, CJA
Defense Attorney
142 North Third Street, 3"‘ F|oor
Memphis, TN 38103

 

S-U-P-P-L-E-l\.'|--E-N-T-ll\~-L1 JUDGMENT |N A CR|NI|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 26 and 27 ofthe indictment on November 4r 2004
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section .NMQY Offense Number(st
Mi_de_d
18 U.S.C. §§ 1341 and 2 Mai| Fraud and Aiding and Abetting 01/23/1999 26
18 U.S.C. §§ 1341 and 2 i\/|ail Fraud and Aiding and Abetting 03/11/1999 27

The defendant is sentenced as provided in the following pages ofthis judgment The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and the |V|andatory Victims Restitution Act
of 1996.

A|i remaining counts are dismissed on the motion of the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 11/25/1959 lVlarch 3, 2005
Deft’s U.S. Marshal No.: 55458-083

Defendant's |V|ai|ing Address:
737 l\/iichel|e Drive

Newport News.\/A 23601 QW 0 diaz
i\r _
shea in compliance /Qt' . OL

' d ment entered OH The dscket ' .,
This ocu 5 nder BZ(D) FHCrP cm 5/ L!, L,_Y" ON PH|PPS MCCALLA
Wifh mile 5 a U lTED TATES Dl TRICT JUDGE

 

 

May , 2005

 

1 Supplemented to include new amount of restitution and individual victims

 

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lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 28 Months (or 2 Years and 4 |Vionths) as to Count
26; 28 Months (or 2 Years and 4 iVionths) as to Count 27. Counts 26 and 27 are to be
served concurrently with each otherfor a total term of incarceration of 28 Months (or
2 Years and 4 i\/ionths).

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States i\/iarshai.

RETURN

i have executed this judgment as foiiows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES iViARSi-lAL
By:

 

Deputy U.S. |Viarsha|

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years as to Count 26; 3 ¥ears as to Count 27; Counts 26 and 27 to
supervised concurrently with each other for a total term of incarceration of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921_

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this courtl

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudiclal district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officerl

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(‘lO) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldr used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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10.

11.

12.

13.

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal i\/ionetary Penalties sheet of this judgment

ADDITIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply With the following additional conditions of supervised

release:

‘i.

The defendant shall submit to drug and mental health testing and treatment programs as
directed by the Probation Office.

The defendant shall make full financial disclosure
The defendant shall provide third party risk notificationl

The defendant shall cooperate with DNA collection as directed by the Probation Office.

CR|MINAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties iri accordance

with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Total Restitution
$200.00 $550,099.00

The Speciai Assessment shall be due immediately.

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FINE

No fine imposed

REST|TUT|ON

Restitution in the amount of $550,099.00 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Total Amount Amount of Order
Name of Pa! fee of Loss Restitution Ordered or
Percentage
of Payment

Patricia Anclerson $5,150.00 $5,150.00

Robert Anderson $10,150.00 $10,150.00

Chester Aycock $10,250.00 $10,250.00

Emmitt Biount $10,400.00 $10,400.00

William Blount $5,000.00 $5,000.00

Lawrence Bogier, Jr. $30,300.00 $30,300.00

Shei|a Briggs $36,400.00 $36,400.00

Lauralene Campbell $20,200.00 $20,200.00

VVi||iam Chapmari $10,000.00 $10,000.00

Richard Covington $10,000.00 $10,000.00

l\/lelvin Cox $2,460.00 $2,460.00

Vincent Cox $2,550.00 $2,550.00

Vanessa Cox $45,000.00 $45,000.00

Juanita Dove $7,000.00 $7,000.00

aka/Juanita Dove Muhammad

James Dove $60,000.00 $60,000.00

aka/James l\/|uhammed

Woodrow & Patricia Edwards $2,000.00 $2,000.00

Kathleen & Robert Fuller $7,000.00 $7,000.00

Bernice Gibbs $6,400.00 $6,400.00

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Name of Payee

Lynwood Grady
Janet Grady
Benjamin Graham
Arthur Harris
Gera|d Hi|i
Antoinette Hines
Linwood & |Viinnie Holmes
Linwood Ho|mes
Linda Ho|mes
Curtis Horton
Ervin Keaton, Jr_
Randolph Koonce
Lori l\/iackey
Laddie il/loore

Originai Tabernacle of Prayer for
All People

Rhema Christian Center

Cynthia Smith
aka/Atika Sayfuddin

Jamerla Solomon

St. i\/iark Churoh l\/liriistries, lric.
Ada & Wilbert Uzell

Samuel Wllliams

Mary Witherspoon

Total Amount

of Loss

$500.00
$5,000.00
$4,250.00
$4,250.00
$1,659.00
$5,000.00

$35,000.00
$5,000.00
$5,000.00
$2,000.00

$‘i4,000.00
$22,350.00

$10,000.00
$3,000.00
$60,620.00

$25,000.00
$7,600.00

$8,150.00
$6,060.00
$30,300.00
$5,000.00
$'| O, ‘l 00.00

Amount of

Restitution Ordered

 

$500.00
$5,000.00
$4,250.00
$4,250.00
$1,659.00
$5,000.00

$35,000.00
$5.000.00
$5,000.00
$2,000.00

$14,000.00

$22,350.00

$10,000.00
$3,000.00

$60,620.00

$25,000.00
$7,600.00

$8,150.00
$6`,060.00
330,300.00
$5,000.00
$10,100.00

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Priority
Order
or
Percentage

of Payment

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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to payl payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
20% of his gross monthly income.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonmentl payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation ofhcer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed

   

UNITED`STATESDISTRIC COUR -W"'RNTE DSRTC oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 136 in
ease 2:03-CR-20369 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

Bruee I. Griffey

LAW OFFICES OF BRUCE 1. GRIFFEY
142 North Third St.

3rd Fioor

1\/lemphis7 TN 38103

Cam Tovvers .1 ones

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable .1 on MeCaila
US DISTRICT COURT

